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                                   5                             IN THE UNITED STATES DISTRICT COURT

                                   6                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   8        UNITED STATES OF AMERICA,                       Case No. 18-cr-00463-CRB-1
                                   9                    Plaintiff,
                                                                                            ORDER STAYING MOTION FOR
                                  10              v.                                        COMPASSIONATE RELEASE
                                  11        VICTOR TURK,
                                  12                    Defendant.
Northern District of California
 United States District Court




                                  13           Defendant Victor Turk has filed a Renewed Motion for Compassionate Release. However,
                                  14   the new motion raises new issues,1 and Mr. Turk has not exhausted his administrative remedies by
                                  15   making a request of the warden in connection with the new issues. See 18 U.S.C. § 3582(c)(1)(A)
                                  16   (allowing Defendant to bring motion in court “after the defendant has fully exhausted all
                                  17   administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the
                                  18   defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of the
                                  19   defendant’s facility, whichever is earlier”); United States v. Johnson, No. 16-cr-430-CRB, 2021
                                  20   WL 40281, at *1 (N.D. Cal. Jan. 5, 2021) (“[A] defendant may not circumvent the exhaustion
                                  21   requirements by recharacterizing a second motion asserting new facts and arguments as a mere
                                  22   renewal of the first motion.”). Mr. Turk represents that he submitted a new request seeking
                                  23   compassionate release to the warden of his facility on January 11, 2022. The Court will therefore
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                                  28    Mr. Turk argues otherwise in his reply brief. However, his Renewed Motion raises at least three
                                       new issues for the Court to consider.
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